USCA Case #24-1113   Document #2070340        Filed: 08/15/2024     Page 1 of 43



    ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                           Case No. 24-1130
                     Consolidated With No. 24-1113

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


            TIKTOK INC. and BYTEDANCE LTD.
                                       Petitioners,
                             v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                     the United States,
                                       Respondent.
                 (continued on inside cover)


 ON PETITION FOR REVIEW OF THE PROTECTING AMERICANS
  FROM FOREIGN ADVERSARY CONTROLLED APPLICATIONS
                     ACT (H.R. 815)


            REPLY BRIEF OF CREATOR PETITIONERS


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USCA Case #24-1113   Document #2070340          Filed: 08/15/2024   Page 2 of 43



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              TOWNSEND, and STEVEN KING,
                                     Petitioners,
                                         v.
               MERRICK B. GARLAND, in his capacity
                 as United States Attorney General,
                                                     Respondent.
                                 ———————


                          BASED Politics Inc.,
                                                Petitioner,
                                    v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
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USCA Case #24-1113            Document #2070340                   Filed: 08/15/2024         Page 3 of 43



                                  TABLE OF CONTENTS


INTRODUCTION AND SUMMARY OF ARGUMENT ........................... 1

ARGUMENT ............................................................................................. 4

        I.      The Act Violates the First Amendment. ................................. 4

                A.      The Act Impairs Petitioners’ Ability to Speak,
                        Associate, and Listen. .................................................... 4

                B.      The Act Is Subject to the Most Demanding
                        Scrutiny. ....................................................................... 11

                        1.      Four features of the Act independently
                                subject it to heightened scrutiny. ....................... 11

                        2.      The Act is not a mere time, place, and
                                manner restriction. ............................................. 20

                C.      The Act Fails Any Applicable Level of Scrutiny. ........ 20

                        1.      Preventing potential “content manipulation”
                                does not justify the Act. ...................................... 21

                        2.      The government’s claims about data security
                                do not justify the Act. .......................................... 27

                D.      The Act Is Facially Overbroad. .................................... 30

        II.     The Court Should Permanently Enjoin the Act. .................. 32

CONCLUSION ........................................................................................ 34




                                                    i
USCA Case #24-1113            Document #2070340                Filed: 08/15/2024        Page 4 of 43



                               TABLE OF AUTHORITIES

                                                                                            Page(s)

Federal Cases

Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc.,
  570 U.S. 205 (2013) ............................................................................... 7

Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc.,
  591 U.S. 430 (2020) ............................................................................... 7

Alario v. Knudsen,
  -- F. Supp. 3d. --, 2023 WL 8270811 (D. Mont. Nov. 30, 2023) .......... 13

Arcara v. Cloud Books, Inc.,
  478 U.S. 697 (1986) ............................................................................... 5

Ark. Writers’ Project, Inc. v. Ragland,
  481 U.S. 221 (1987) ............................................................................. 18

Bantam Books, Inc. v. Sullivan,
  372 U.S. 58 (1963) ............................................................................... 12

Barr v. Am. Ass’n of Political Consultants, Inc.,
  591 U.S. 610 (2020) ............................................................................. 19

Bose Corp. v. Consumers Union,
  466 U.S. 485 (1984) ............................................................................. 33

Brown v. Ent. Merchs. Ass’n,
  564 U.S. 786 (2011) ....................................................................... 20, 25

City of Ladue v. Gilleo,
   512 U.S. 43 (1994) ......................................................................... 13, 19

Clark v. Cmty. for Creative Non-Violence,
  468 U.S. 288 (1984) ............................................................................. 20



                                                  ii
USCA Case #24-1113            Document #2070340                Filed: 08/15/2024        Page 5 of 43



FEC v. Cruz,
  596 U.S. 289 (2022) ............................................................................. 21

First Nat’l Bank of Bos. v. Bellotti,
   435 U.S. 765 (1978) ......................................................................... 3, 15

Freedman v. Maryland,
  380 U.S. 51 (1965) ............................................................................... 29

Gertz v. Robert Welch, Inc.,
  418 U.S. 323 (1974) ............................................................................... 4

Gordon v. Holder,
  721 F.3d 638 (D.C. Cir. 2013) ............................................................. 32

Greater New Orleans Broad. Ass’n v. United States,
  527 U.S. 173 (1999) ............................................................................. 25

Holder v. Humanitarian Law Project,
  561 U.S. 1 (2010) ......................................................... 23, 28, 29, 31, 32

Joseph Burstyn, Inc. v. Wilson,
  343 U.S. 495 (1952) ............................................................................. 26

Klein v. Facebook, Inc.,
  580 F. Supp. 3d 743 (N.D. Cal. 2022) ................................................. 14

Lamont v. Postmaster Gen.,
  381 U.S. 301 (1965) ............................................................. 9, 15, 22, 23

Matal v. Tam,
  582 U.S. 218 (2017) ............................................................................. 16

Minneapolis Star & Tribune Co. v. Minn. Comm’r of Revenue,
  460 U.S. 575 (1983) ....................................................................... 17, 18

Moody v. NetChoice, LLC,
  144 S. Ct. 2383 (2024) .................... 1, 6, 8, 18, 21, 22, 23, 26, 30, 31, 33



                                                  iii
USCA Case #24-1113            Document #2070340                Filed: 08/15/2024        Page 6 of 43



Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle,
  429 U.S. 274 (1977) ............................................................................. 27

Murthy v. Missouri,
  144 S. Ct. 1972 (2024) ......................................................................... 10

N.Y. Times Co. v. United States,
  403 U.S. 713 (1971) ......................................................................... 3, 28

Near v. Minnesota,
  283 U.S. 697 (1931) ....................................................................... 12, 14

Reed v. Town of Gilbert,
  576 U.S. 155 (2015) ....................................................................... 17, 19

Reno v. ACLU,
  521 U.S. 844 (1997) ......................................................................... 8, 26

Riley v. Nat’l Fed’n of the Blind of N.C., Inc.,
   487 U.S. 781 (1988) ............................................................................. 27

Rosenberger v. Rector & Visitors of the Univ. of Va.,
  515 U.S. 819 (1995) ............................................................................. 15

Rumsfeld v. Forum for Acad. & Institutional Rts., Inc.,
  547 U.S. 47 (2006) ............................................................................. 6, 7

Sorrell v. IMS Health Inc.,
  564 U.S. 552 (2011) ..................................................................... 5, 6, 27

Thomas v. Chi. Park Dist.,
  534 U.S. 316 (2002) ............................................................................. 12

Trump v. Hawaii,
  585 U.S. 667 (2018) ......................................................................... 9, 10

United States v. O’Brien,
  391 U.S. 367 (1968) ............................................................................... 6



                                                  iv
USCA Case #24-1113            Document #2070340                 Filed: 08/15/2024        Page 7 of 43



United States v. Playboy Ent. Grp., Inc.,
  529 U.S. 803 (2000) ............................................................................. 30

United States v. Robel,
  389 U.S. 258 (1967) ............................................................................. 24

Va. Pharmacy Bd. v. Va. Citizens Consumer Council, Inc.,
  425 U.S. 748 (1976) ............................................................................. 11

Vance v. Universal Amusement Co.,
  445 U.S. 308 (1980) ............................................................................. 13

Virginia v. Hicks,
   539 U.S. 113 (2003) ............................................................................... 5

Whitney v. California,
 274 U.S. 357 (1927) ............................................................................... 3

Williams-Yulee v. Fla. Bar,
  575 U.S. 433 (2015) ............................................................................. 25

Zauderer v. Office of Disciplinary Counsel,
  471 U.S. 626 (1985) ............................................................................. 30

Constitutional Provisions

U.S. Const. amend I ............................................................................. 1-33

Federal Statutes

Protecting Americans from Foreign Adversary Controlled
  Applications Act, Pub. L. No. 118-50, Div. H, 138 Stat. 895, 955-60
  (Apr. 24, 2024).................................................................................. 1-34

Other Authorities

Alden Fletcher, Foreign Election Interference in the Founding Era,
  Lawfare (Oct. 25, 2018) ...................................................................... 23



                                                   v
USCA Case #24-1113          Document #2070340              Filed: 08/15/2024       Page 8 of 43



Ken Bensinger, Harris Joins TikTok, Another Sign of the App’s
  Value in Reaching Young Voters, N.Y. Times (July 26, 2024) ......... 24

Kevin Hurler, What Is 'SwiftTok'?, Gizmodo (Oct. 17, 2022) ................. 31

Letter from Thomas Jefferson to Thomas Paine (June 19, 1792) ............ 3

Michael Gold, Trump Joins TikTok, the App He Once Tried to Ban,
  N.Y. Times (June 2, 2024) .................................................................. 24

Philip C. Kissam, Alexis de Tocqueville and American
  Constitutional Law, 59 Maine L. Rev. 36 (2007) ................................. 7




                                               vi
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 9 of 43



         INTRODUCTION AND SUMMARY OF ARGUMENT

     “Whatever the challenges of applying the Constitution to ever-

advancing technology, the basic principles of the First Amendment do not

vary.” Moody v. NetChoice, LLC, 144 S. Ct. 2383, 2403 (2024) (citation

and internal quotation marks omitted). Those time-honored principles

give U.S. residents the right to express themselves in this country;

associate for purposes of doing so with editors and publishers of their

choice; and receive communication from others, including entities

anywhere in the world. Petitioners therefore have the right to speak,

associate, and listen on TikTok—regardless of the social media platform’s

ownership structure. And the Act’s impingement upon those activities is

subject to the most demanding scrutiny.

     The government responds that TikTok must be banned because its

content could be “manipulated” to “interfere with our political system and

political discourse, including our elections.” Government Br. (GB) 35‒36.

One need not wade through the government’s filings, however, or even

review the classified material it proffers, to see the hollowness of this

contention. The day before the government submitted its brief, the Vice

President of the United States—presumably fully aware of all relevant


                                    1
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 10 of 43



information—joined TikTok to promote her presidential campaign,

implicitly encouraging millions of Americans to use the platform to

engage in political and electoral discourse. What’s more, the Act allows

TikTok to operate throughout the 2024 election cycle and subsequent

presidential transition—a period in which the President maintains our

very democracy is at stake. Given those realities, it simply cannot be that

TikTok presents a “grave threat to national security.” Id.

      Even taking the government’s brief at face value, its plea for

banning the platform is unconvincing. The government’s concerns

regarding data collection ignore basic facts and could be easily met with

less drastic alternatives. The government’s content-manipulation

argument reflects worries that, in the ongoing “geopolitical competition”

between the United States and China, GB 20, the platform could provide

China a powerful tool (at some unspecified point in the future, apparently

after the 2024 election) to influence people’s views. In other words, the

government worries that the pen—or, more precisely, a modern printing

press—could be mightier than the sword. But that potential has been

recognized for centuries. The Founders were keenly alert to it as well.

Writing to Thomas Paine in 1792, Thomas Jefferson urged him to “[g]o


                                    2
USCA Case #24-1113    Document #2070340        Filed: 08/15/2024   Page 11 of 43



on then in doing with your pen what in other times was done with the

sword: shew that reformation is more practicable by operating on the

mind than on the body of man.” Letter from Thomas Jefferson to Thomas

Paine (June 19, 1792).

      But instead of reacting to the potential power of speech—from

internal revolutionaries, international agitators, or anyone in between—

with censorship, the First Amendment charts a different path. It ensures

that “the people in our democracy are entrusted with the responsibility

for judging and evaluating the relative merits of conflicting arguments[,]”

even (or especially) about politics. First Nat’l Bank of Bos. v. Bellotti, 435

U.S. 765, 791 (1978). As Justice Brandeis explained in response to the

first Red Scare, “no danger flowing from speech” justifies its suppression

“unless the incidence of the evil apprehended is so imminent that it may

befall before there is opportunity for full discussion.” Whitney v.

California, 274 U.S. 357, 377 (1927) (concurring opinion); see N.Y. Times

Co. v. United States, 403 U.S. 713 (1971) (“Pentagon Papers”). “[T]he

remedy to be applied” to political speech, in short, “is more speech, not

enforced silence.” Whitney, 274 U.S. at 377 (Brandeis, J., concurring);




                                      3
USCA Case #24-1113   Document #2070340         Filed: 08/15/2024   Page 12 of 43



accord Gertz v. Robert Welch, Inc., 418 U.S. 323, 339‒40 (1974).

The Court should follow that tradition here.

                             ARGUMENT

I.    The Act Violates the First Amendment.
      A.   The Act Impairs Petitioners’ Ability to Speak, Associate, and
           Listen.

      The government is strikingly blasé about the effect of banning

TikTok on Petitioners’ First Amendment rights. Never mind, it says, that

Petitioners—like millions of other Americans—have found themselves

distinctively able to communicate and obtain information on TikTok.

“TikTok users,” the government suggests, “have the option of turning to

other platforms.” GB 60. That statement fails to reckon with the many

unrebutted ways shutting down TikTok would stymie Petitioners’ ability

to speak, associate, and listen, notwithstanding the existence of “other

platforms.” And nothing about the Act’s divestiture provision lessens the

threat to those First Amendment rights.

      1. Speaking. Petitioners’ opening brief explains how enforcing the

Act would prevent them from speaking on the forum and medium of

TikTok. Opening Br. (OB) 24‒30. The government responds that the Act




                                   4
USCA Case #24-1113   Document #2070340        Filed: 08/15/2024   Page 13 of 43



does not “target” any such First Amendment activity, or at most places

“burdens on petitioners’ speech [that] are purely incidental.” GB 60‒62.

The government is wrong. The First Amendment does not apply to laws

“of general applicability” that regulate only non-expressive conduct (like

prostitution that happens to take place at a bookstore), and do not “ha[ve]

the inevitable effect of singling out those engaged in expressive activity.”

Arcara v. Cloud Books, Inc., 478 U.S. 697, 705, 707 (1986) (nuisance law);

accord Virginia v. Hicks, 539 U.S. 113, 123‒24 (2003) (trespass). Where,

by contrast, a law is “directed at” speech or speakers, either “on its face”

or “in its practical operation,” it regulates speech. Sorrell v. IMS Health

Inc., 564 U.S. 552, 567 (2011).

      The Act is aimed directly at speech. It regulates social media

platforms that allow users to “generate, share, and view text, images,

video, real-time communications, or similar content.” Act § 2(g)(2)(A)(i).

It also targets TikTok specifically, as well as any other platform that “has

more than 1,000,000 monthly active users” (unless the company that

owns the platform operates an application “whose primary purpose is to

allow users to post product reviews, business reviews, or travel




                                     5
USCA Case #24-1113   Document #2070340        Filed: 08/15/2024   Page 14 of 43



information and reviews”). Id. §§ 2(g)(2)(A)(ii) & 2(g)(2)(B); (3)(A).

The Act, therefore, does not regulate only non-expressive conduct.

      Nor, for essentially the same reasons, does the Act impose a merely

“incidental effect” on Petitioners’ speech. GB 61 (citing United States v.

O’Brien, 391 U.S. 367, 377 (1968)). Both “on its face and in its practical

operation,” the Act restricts Petitioners’ speech on social media. Sorrell,

564 U.S. at 567. That direct burden demands searching First

Amendment scrutiny.

      2. Associating. The Act also impairs Petitioners’ First Amendment

right to associate with TikTok as their preferred publisher and editor.

See OB 30‒33. “Like the editors” of books and magazines, “the major

social-media platforms are in the business ... of combining ‘multifarious

voices’ to create a distinctive expressive offering.” NetChoice, 144 S. Ct.

at 2405 (citation omitted). TikTok is no different, which is why

Petitioners have a “right to associate” with TikTok as their editor and

publisher to project their voices. Rumsfeld v. Forum for Acad. &

Institutional Rts., Inc., 547 U.S. 47, 68 (2006) (FAIR).

      The government’s only real answer is to suggest that Petitioners

have no right to post on TikTok because its ultimate parent company is


                                     6
USCA Case #24-1113    Document #2070340       Filed: 08/15/2024     Page 15 of 43



a foreign entity. GB 78. But nothing about TikTok’s ownership structure

deprives it—an American company—of First Amendment rights. TikTok

Reply 6‒7. At any rate, this particular Petition concerns Petitioners’

“ability to express [their] message” in America, see FAIR, 547 U.S. at 69,

not any attempt to “export” their First Amendment rights abroad, see GB

78 (quoting Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc., 591

U.S. 430, 437‒38 (2020)). And when people in America exercise their own

right to speak, the First Amendment protects their right to affiliate with

domestic or foreign entities to do so effectively. See Agency for Int’l Dev.

v. Alliance for Open Soc’y Int’l, Inc., 570 U.S. 205, 219 (2013).

      Any other rule would be startling. Under the government’s view,

Congress could have banned publication of Democracy in America

because early Americans shared their insights through the voice of a

French author sent here in 1831 by the French government. See Philip

C. Kissam, Alexis de Tocqueville and American Constitutional Law, 59

Maine L. Rev. 36, 42 (2007). Today, Congress could ban American

musicians from posting on (Swedish-based) Spotify or (German-based)

SoundCloud; American writers from placing stories on Al Jazeera;

American actors from appearing in movies directed by Oscar-winning


                                     7
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 16 of 43



Iranian director and producer Asghar Farhadi; and American academics

from publishing in the Oxford University Press. The government offers

no basis in history, tradition, or precedent to adopt such an extreme and

far-reaching limitation on free association and expression.

      The most the government does is assert in its statement of the case

that the Act “echoes approaches previously taken by Congress” to

regulate foreign ownership in other sectors of our economy. GB 13. But

the Government advances no legal argument based on those other

statutes. For good reason: Most of those other statutes concern

commercial entities that neither engage in nor host expression (such as

“nuclear facilit[ies]”). Id. (citation omitted). One statute involves radio

licenses, but it is well-established that different First Amendment

considerations apply to “channel space” on a broadcast spectrum.

NetChoice, 144 S. Ct. at 2408 n.10; see also Reno v. ACLU, 521 U.S. 844,

868‒70 (1997) (explaining why “special justifications for regulation of the

broadcast media” do not extend to the “vast democratic forums of the

Internet”).

      3. Listening. The Act also impairs Petitioners’ First Amendment

right to receive information and ideas, including news. That conclusion


                                    8
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 17 of 43



follows a fortiori from Lamont v. Postmaster General, 381 U.S. 301

(1965), which held that U.S. citizens had a First Amendment right to

receive content labeled “communist political propaganda” from “foreign

countries.” Id. at 302‒03. Here, the Act bans all content on TikTok,

simply because the government fears it might be used to spread

propaganda.

      The government’s effort to distinguish Lamont is hard to

understand. It argues that the Act is unlike the law the Court invalidated

there because the Act allows foreign entities to express their views “in

any forum other” than TikTok. GB 78. But the law invalidated in Lamont

also left open other channels of communication; it regulated only the U.S.

mail—not radio, television, or even pamphleteering. What matters,

therefore, is not whether listeners might somehow be able to obtain

information on TikTok from another source; the key is whether

Americans have a right to use a domestic medium for speech to receive

even foreign propaganda. They most certainly do.

      The government’s “cf.” citation to Trump v. Hawaii, 585 U.S. 667

(2018), changes nothing. GB 79. The sentence the government selectively

quotes begins with the phrase “[g]iven the authority of the political


                                    9
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 18 of 43



branches over admission.” Trump, 585 U.S. at 703. This confirms the

Court’s analysis was confined to the special context of noncitizens

seeking physically to enter into this country, where ordinary First

Amendment rules are “circumscribed.” Id.1

      4. Divestiture. The government finally seeks to avoid First

Amendment scrutiny on the ground that the Act addresses “control of

TikTok, not the content on the platform.” GB 60. But those two things

are inseparable. For one thing, the government does not really dispute

TikTok’s showing that divestiture is practically impossible. See TikTok

Reply 6.

      But even if it were possible, the First Amendment still gives

Petitioners the right to engage with the publisher of their choice. Thus,

when the government forces speakers to work with different editors and

publishers (because of changes in ownership structure or otherwise), or

forces listeners to get their “news” or other information from a different

—————
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  Murthy v. Missouri, 144 S. Ct. 1972 (2024), is even further afield. See
GB 78. That decision established no First Amendment law whatsoever.
In any event, the Court held that social media consumers failed to allege
an Article III injury-in-fact because they did “not point to any specific
instance of content moderation that caused them identifiable harm.”
Murthy, 144 S. Ct. at 1996. Here, the Act would deprive Petitioners of
access to all content on TikTok.
                                   10
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 19 of 43



source, GB 18, the First Amendment is inescapably implicated. See, e.g.,

Va. Pharmacy Bd. v. Va. Citizens Consumer Council, Inc., 425 U.S. 748,

757 & n.15 (1976) (summarizing case law); OB 35‒37.

      Any divestiture of TikTok would, by virtual necessity, change the

content and editorial practices on the platform in fundamental ways. See

OB 12‒13 (noting deterioration of Petitioners’ experience on X after

ownership change); see also Amicus Br. of First Amendment Professors

7‒8 (divestiture requirement would “permit the federal government to

select buyers who will be sympathetic to and permit the publication of

the government’s viewpoints”).

      B.   The Act Is Subject to the Most Demanding Scrutiny.
           1.    Four features of the Act independently subject it to
                 heightened scrutiny.

      Government actions abridging First Amendment rights warrant

the most demanding review—strict scrutiny, or something even

greater—if they: (1) impose a prior restraint on speech; (2) foreclose a

medium of communication; (3) target speech based on its viewpoint; or

(4) discriminate based on the content of speech. The Act does all four.

      a. The Act imposes a prior restraint. The Act is a prior restraint

because it “suppress[es] the future publication” of Petitioners’ speech on

                                   11
USCA Case #24-1113      Document #2070340    Filed: 08/15/2024   Page 20 of 43



TikTok without any prior determination that it poses a threat. Near v.

Minnesota, 283 U.S. 697, 709 (1931); see OB 38‒40.

      The government responds that the “Act does not contemplate an

injunction against speech like the provision invalidated in Near.” GB 79.

But that is immaterial. The prior-restraint doctrine requires “look[ing]

through forms to the substance” of a regulation. Bantam Books, Inc. v.

Sullivan, 372 U.S. 58, 67 (1963). And “the threat of invoking legal

sanctions” after the fact creates a prior restraint when it prevents

publication. Id. That is what the Act does. It singles out speech on TikTok

for extinction, without affording TikTok or its users any opportunity to

show that the platform meets the Act’s substantive test that applies to

all other social media applications—namely, that it does not “present a

significant threat to the national security of the United States.”

Act § 2(g)(3)(B)(ii).

      The government also implies that prior-restraint doctrine applies

only where there is “the specter that officials will exercise ‘unconfined

authority to pass judgment on the content of speech’ as a means of stifling

disfavored speech or speakers.” GB 79 (quoting Thomas v. Chi. Park

Dist., 534 U.S. 316, 320 (2002)). That is incorrect. A prior restraint also


                                      12
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 21 of 43



arises where, as here, a statute bans speech without any legislative

determination that it is substantively unlawful. See Vance v. Universal

Amusement Co., 445 U.S. 308, 311, 316‒17 (1980) (per curiam)

(invalidating law banning theaters from displaying movies that had not

been previously determined to be obscene).

      b. The Act forecloses a distinct medium for speech. The government

does not contest that a speech restriction triggers strict scrutiny if it

forecloses a medium or forum for expression. See OB 43‒44; City of Ladue

v. Gilleo, 512 U.S. 43, 54 (1994). Instead, the government suggests that

principle is inapplicable here because platforms besides TikTok provide

comparable “venues for short-form videos.” GB 63.

      Those platforms, however, lack TikTok’s “distinct culture”;

TikTok’s “genuine and supportive” communities; TikTok’s innovative

editing tools; TikTok’s “natural and intuitive” experience; and TikTok’s

distinct recommendation system. OB 24‒30. That is precisely why the

only court to consider the argument the government makes here held

there is “no support for the conclusion that [creators] may simply

substitute another social media site in place of TikTok and achieve the

same effect.” Alario v. Knudsen, -- F. Supp. 3d. --, 2023 WL 8270811, at


                                   13
USCA Case #24-1113    Document #2070340       Filed: 08/15/2024   Page 22 of 43



*8 (D. Mont. Nov. 30, 2023); see Klein v. Facebook, Inc., 580 F. Supp. 3d

743, 769 (N.D. Cal. 2022) (similar).

      Lest there be any doubt, TikTok creators have attested to TikTok’s

distinctiveness. See, e.g., Cadet Decl. ¶ 13, Add. 15 (“[T]he nature of my

expression is different on TikTok than it is on other apps.”); Townsend

Decl. ¶ 6, Add. 65 (“There are also types of content ... that are specific to

the TikTok culture.”). The Court should therefore hold, based on the

uncontradicted evidence, that banning TikTok forecloses access to a

unique expressive medium.

      Even if TikTok could fairly be characterized as just one of many

social media platforms that operate roughly the same way (and it cannot),

the government’s First Amendment argument still cannot possibly be

right. The argument is no different from saying that a law prohibiting

American journalists from publishing in The Economist absent a

divestiture of ownership would not trigger heightened scrutiny because

there are other magazines that publish similar articles. Every distinct

publication is its own forum, so any law targeting a distinct social media

site triggers strict scrutiny. See, e.g., Near, 283 U.S. at 713 (law




                                     14
USCA Case #24-1113   Document #2070340        Filed: 08/15/2024   Page 23 of 43



permitting injunction against a single newspaper was “the essence of

censorship”). That principle applies here.

      c. The Act discriminates based on viewpoint. In response to

Petitioners’ claim that the Act discriminates based on viewpoint, the

government doubles down on its purported concern that allowing TikTok

to operate “could” allow Chinese agents to “manipulat[e] this country’s

public discourse”; “amplify[] preexisting social divisions”; or even curate

content to “advance [China’s] own interests.” GB 38, 44, 67.

      These proffered justifications are overtly viewpoint-discriminatory.

A law regulating speech discriminates based on viewpoint “when the

specific motivating ideology or the opinion or perspective of the speaker

is the rationale for the restriction.” Rosenberger v. Rector & Visitors of

the Univ. of Va., 515 U.S. 819, 829 (1995). That is true regardless of

whether the perspective the statute aims to squelch might be “divisi[ve]”

or “in direct contravention of U.S. interests.” GB 44, 67. If anything, such

a rationale—whether proffered during the Red Scare, the Cold War, or

today—only confirms the viewpoint-based aims of the statute. See, e.g.,

Bellotti, 435 U.S. at 791 & n.31 (discussing cases decided during Red

Scare); Lamont, 381 U.S. at 307 (regulation of speech because it


                                    15
USCA Case #24-1113    Document #2070340         Filed: 08/15/2024   Page 24 of 43



purportedly contained “the seeds of treason” during Cold War was “at

war with” the First Amendment’s commitment to uninhibited discussion

of ideas); Matal v. Tam, 582 U.S. 218, 247 (2017) (plurality opinion)

(“[F]ree speech would be endangered” if the courts “permit[] the

suppression of any speech that may lead to political or social ‘volatility.’”).

In this respect, the government’s brief parallels the legislative record,

where numerous Congress members supported the Act because videos on

TikTok allegedly “manipulate[] the minds of Americans,” “undermine our

love for liberty,” and so on. OB 46‒47. The government attempts to

distance itself from these statements, asking the Court to instead focus

on “the actual concern about manipulation of the platform (including its

content).” GB 70. But the government never explains how this “concern”

is any different from legislative “concerns about the platform’s content.”

Id. In either case, the fundamental point remains the same:

The government wishes to shutter TikTok—as the Act’s proponents said

at the time—because it does not like views that “could” be expressed

there. Regardless of whether that concern has any basis in reality, it

warrants the most demanding First Amendment review.




                                      16
USCA Case #24-1113   Document #2070340        Filed: 08/15/2024   Page 25 of 43



      d. The Act is content-based. For similar reasons, the Act

discriminates based on the content of speech. The Act singles out TikTok,

distinguishing between content on that platform and content elsewhere.

See OB 43‒44. Indeed, the very premise of the government’s defense is

that “content” on TikTok is—or, more accurately, in the future could be—

problematic. E.g., GB 2, 8, 15, 16, 35‒39.

      More broadly, the Act targets social media communication while

excluding from its reach services that host other forms of speech. OB 44‒

46. Indeed, the government recognizes that the Act applies only to

“platforms where users engage by sharing ‘text, images, videos, real-time

communications, or similar content’ for consumption by other users.” GB

68 (emphasis added) (quoting Act § 2(g)(2)(A)(i)); see id. (arguing that the

Act “recognizes particular susceptibilities from the manner that users

interact and engage with social-media platforms”). The Act therefore

“singles out specific subject matter” “for differential treatment.” Reed v.

Town of Gilbert, 576 U.S. 155, 169 (2015).

      The government offers little response to Petitioners’ authority on

this point. See OB 43‒44. The Supreme Court in Minneapolis Star &

Tribune Co. v. Minnesota Commissioner of Revenue, 460 U.S. 575 (1983),


                                    17
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 26 of 43



for example, held that a law triggered strict scrutiny where it imposed

“differential treatment” on the press than on non-press entities. Id. at

585; see also Ark. Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 229‒30

(1987) (similar). Substitute “social media companies” for “the press,” and

this case is the same. Cf. NetChoice, 144 S. Ct. at 2393. (“[W]hile much

about social media is new, the essence of that project is something this

Court has seen before.”). The government responds to none of these cases.

      Instead, the government tries to justify the portion of the statute

that exempts “an entity that operates a website [or application] whose

primary purpose is to allow users to post product reviews, business

reviews, or travel information and reviews.” Act § 2(g)(2)(B). The

government insists this language should be understood to provide that

“review applications cannot serve as qualifying applications that subject

a company to the Act’s strictures,” GB 69—and not, as Petitioners had

asserted, OB 16, and the text of the statute makes clear, “allowing

otherwise-covered companies to escape regulation merely by also

creating a review application,” GB 69. But even if the Government’s

reading were plausible (and it is not, see TikTok Reply 27), the

government’s interpretation would not render the Act content-neutral:


                                   18
USCA Case #24-1113    Document #2070340       Filed: 08/15/2024   Page 27 of 43



Either way, whether the Act applies “depend[s] entirely on the

communicative content” an application provides. Reed, 576 U.S. at 164;

see also Barr v. Am. Ass’n of Political Consultants, Inc., 591 U.S. 610, 636

(2020) (plurality opinion).

      The government’s fallback argument—that the review exception

could be severed from the statute—fares no better. See GB 69. Severance

would be ineffectual here because the exception fatally “diminish[es] the

credibility of the government’s rationale for restricting speech in the first

place.” Barr, 591 U.S. at 622 (plurality opinion) (quoting City of Ladue,

512 U.S. at 52); see TikTok Reply 28‒29. That is, even if the exception

were severed, the law would remain content-based (and thus subject to

strict scrutiny) because Congress targeted a distinct medium based on its

content and concerns about viewpoints that might be expressed or

amplified on the platform. See supra 13‒16. This is therefore not a case

where removing a content-based exception to an otherwise “generally

applicable” regulation eliminates a law’s constitutional infirmity.

Compare Barr, 591 U.S. at 633‒34 (plurality opinion).




                                     19
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 28 of 43


           2.    The Act is not a mere time, place, and manner
                 restriction.

      For all these reasons, the government cannot classify the Act as a

mere “time, place, and manner regulation[].” GB 63. That doctrine covers

laws that are justified “without reference to the content of the regulated

speech.” Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293

(1984). But the Act here targets a specific publisher that provides a

unique forum and medium for communication, for reasons bound up in

the speech the platform hosts and prioritizes (or “could” prioritize). See

supra at 13‒19. And it affects not only the time, place, or manner in which

Petitioners wish to speak, but their decision to work with their editor and

publisher of choice. See supra at 6‒8.

      C.   The Act Fails Any Applicable Level of Scrutiny.

Under strict scrutiny, the government must show the Act “is justified by

a compelling government interest and is narrowly drawn to serve that

interest.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 799 (2011).

The government has not made this showing—or even a showing that

would satisfy intermediate scrutiny.




                                    20
USCA Case #24-1113   Document #2070340      Filed: 08/15/2024   Page 29 of 43


           1.    Preventing potential “content manipulation” does not
                 justify the Act.

      The government claims the Act is necessary to prevent Chinese

officials from someday covertly shaping the presentation of content with

political implications that “could” appear in U.S. users’ feeds. GB 35.

Speculation about “anticipated harm[s]” is insufficient “to carry a First

Amendment burden.” FEC v. Cruz, 596 U.S. 289, 307 (2022) (citation and

internal quotation marks omitted). But even if the government had

evidence substantiating its claim, the argument would fail.

      a. This is not a compelling interest. NetChoice takes the

government’s content-manipulation argument off the table. There, the

Supreme Court held that a concern that social media content is

manipulated to disfavor “conservative viewpoints and ideas” is not a

“valid, let alone substantial” First Amendment interest. 144 S. Ct. at

2407. “[C]orrect[ing] the mix of speech” that a social media platform

presents to users, the Court reasoned, is “related to the suppression of

free expression” and thus an impermissible basis to uphold a statute

regulating such platforms. Id. That holding forecloses the government’s

plea to ban TikTok because the platform might be used to “influence”




                                   21
USCA Case #24-1113    Document #2070340       Filed: 08/15/2024   Page 30 of 43



what users think about political issues or “exacerbate[s] social divisions”

in our country. GB 35.

      The government responds that TikTok’s ties to foreign entities

mean the platform’s content curation is more likely to “undercut U.S.

national-security interests.” GB 74. But the First Amendment prohibits

the government from “control[ling] the flow of ideas to the public,” even

from abroad. Lamont, 381 U.S. at 306‒07. In any event, much of the

speech the government seeks to suppress—including Petitioners’—is

U.S.-based. The asserted involvement of a foreign entity in its publication

(merely by means of corporate structure) does not empower the

government to squelch it. See supra at 7‒9.

      It does not matter that any supposed Chinese influence on TikTok’s

publication practices could be “covert.” GB 58.        Every social media

platform runs on algorithms (and the human editorial choices they

embody) that are not shared with the public. Yet NetChoice holds that

the First Amendment forbids regulatory intrusion on such editorial

decisions. 144 S. Ct. at 2405‒06. Indeed, editorial influence has always

been largely invisible to consumers of books, television, and other media.

And    publishers    also   regularly    accommodate    various    types    of


                                        22
USCA Case #24-1113   Document #2070340      Filed: 08/15/2024   Page 31 of 43



surreptitious interests—–for instance, family or friends of those

discussed in a book, or corporate entities seeking to avoid negative news

coverage. Yet nothing about the “covert” nature of such intermeddling

gives the government the right to regulate the expressive content that is

ultimately disseminated.

      Nor does wrapping this censorship interest in the mantle of

“national security” change anything. E.g., GB 44, 70. The Supreme

Court’s “precedents, old and new, make clear that concerns of national

security and foreign relations do not warrant abdication of the judicial

role.” Holder v. Humanitarian Law Project, 561 U.S. 1, 34 (2010).

A speech-suppressive interest cannot satisfy any level of First

Amendment scrutiny, NetChoice, 144 S. Ct. at 2407, regardless of the

government’s national-security gloss. See Lamont, 381 U.S. at 302‒03.

Indeed the government’s concern is nothing new. For as long as we have

been a republic, foreign nations have sought to influence our affairs.

See Alden Fletcher, Foreign Election Interference in the Founding Era,

Lawfare (Oct. 25, 2018), https://tinyurl.com/2s3cmcwf. But the “risks of

internal subversion” inherent in a free society have never licensed the

government to subvert the liberties that “make[] defense of the Nation


                                   23
USCA Case #24-1113    Document #2070340       Filed: 08/15/2024   Page 32 of 43



worthwhile.” United States v. Robel, 389 U.S. 258, 264 (1967). The

government provides no historical support for the idea that it may silence

U.S. residents like Petitioners, regardless of whether they associate with

editors or publishers with foreign ties.

      b. The Act is not narrowly tailored to serve this interest. Even if the

government’s content-manipulation interest were valid, the Act would

not be tailored to that goal.

      To begin, the government’s content-manipulation interest is

incompatible with the fact that the Act permits TikTok to operate

through the 2024 election. Act § 2(a)(2)(A). The President has declared

that this election will determine “[w]hether democracy is still America’s

sacred cause.” Add. 408; see OB 41. Yet Congress and the President are

allowing TikTok to remain fully operational through the election and for

months afterwards. Federal candidates of all stripes—including those

currently or previously central to our national security—are using the

platform and implicitly encouraging Americans to do the same.2 The

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2
  See Ken Bensinger, Harris Joins TikTok, Another Sign of the App’s
Value in Reaching Young Voters, N.Y. Times (July 26, 2024),
https://tinyurl.com/muc7hncy; Michael Gold, Trump Joins TikTok, the
App He Once Tried to Ban, N.Y. Times (June 2, 2024),
https://tinyurl.com/2mfa7p3d.
                                     24
USCA Case #24-1113   Document #2070340      Filed: 08/15/2024   Page 33 of 43



government offers no explanation for how these realities could possibly

comport with any purported need to fend off content manipulation.

      Other aspects of the Act’s underinclusiveness confirm its lack of

narrow tailoring. It is of course true that the government “need not

address all aspects of a problem in one fell swoop.” GB 73 (quoting

Williams-Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015)). But a statute that

“fail[s] to regulate vast swaths of conduct that similarly diminish[] its

asserted interests” cannot satisfy strict scrutiny. Williams-Yulee, 575

U.S. at 448. And here, the government concedes, GB 78, the Act does

nothing to prevent the Chinese government from amplifying subversive

information on other social media platforms. The Act does not even cover

traditional media, published in English and distributed across the United

States, like the state-owned China Daily. The failure to account for this

underinclusivity—or justify the Act’s puzzling framework of irrational

exceptions, see OB 52‒53—is “alone enough” to fail strict (or even

intermediate) scrutiny. Brown, 564 U.S. at 802; see also Greater New

Orleans Broad. Ass’n v. United States, 527 U.S. 173, 193 (1999).

      The government also fails to show that the traditional remedy to

speech-based harms—counterspeech—is insufficient to address the


                                   25
USCA Case #24-1113   Document #2070340        Filed: 08/15/2024   Page 34 of 43



supposed ills it fears. See OB 54. The government seems worried that the

possibilities for influencing hearts and minds are greater on social media

than with respect to past forms of communication. But “even as one

communications method has given way to another,” the courts’ “settled

principles about freedom of expression” have never wavered. NetChoice,

144 S. Ct. at 2403. That is why the Supreme Court rejected the

government’s argument that special First Amendment rules were

necessary to ensure the proper development of the internet, holding that

the “interest in encouraging freedom of expression in a democratic society

outweighs any theoretical but unproven benefit of censorship.” Reno, 521

U.S. at 885. And it is why, four decades earlier, the Court declined to

credit the government’s claim that “motion pictures possess a greater

capacity for evil ... than other modes of expression,” concluding that

movies’ supposed “capacity for evil ... does not authorize substantially

unbridled censorship.” Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 502

(1952). The same reasoning holds true here.3

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  If intermediate scrutiny that governs time, place, and manner
restrictions were to apply here, the Act would still be invalid for the same
reasons just set forth, and because the Act fails to leave content creators
and users alternative means of communication. See OB 48; supra at 13‒
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                                    26
USCA Case #24-1113    Document #2070340       Filed: 08/15/2024   Page 35 of 43


           2.    The government’s claims about data security do not
                 justify the Act.

      The government alternatively claims the Act advances an interest

in protecting U.S. users’ “personal information,” including their contacts

lists and “physical locations,” from the Chinese government. GB 28‒29,

34, 53‒54. This interest would have to be particularly powerful to save

the Act: Because the government’s content-manipulation justification is

impermissible, the government’s data-security justification cannot save

the Act unless it is clear that Congress “would have reached the same

decision” in enacting the Act “in the absence” of the improper rationale.

Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287

(1977). The government comes nowhere close to making that showing.

      a. This is not a compelling interest. The government’s first problem

is that disclosing personal information to TikTok (or any other mobile

application) is an individual choice that the First Amendment protects.

The “dissemination of information” is “speech within the meaning of the

First Amendment,” Sorrell, 564 U.S. at 570, and the government “may

not substitute its judgment as to how best to speak for that of speakers,”

Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 790‒91 (1988).




                                     27
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 36 of 43



So to the extent Americans choose to share information with TikTok, the

government has no legitimate interest prohibiting that choice.

      The government also fails to show that its data security concerns

are “direct, immediate, and irreparable”—the standard required to

suppress speech on national-security grounds. Pentagon Papers, 403 U.S.

at 730 (Stewart, J., concurring); id. at 726‒27 (Brennan, J., concurring)

(same). Quite the opposite: the government’s declarant admits that it has

“no information” that the Chinese government has accessed American

TikTok users’ data or intends to imminently. Blackburn Decl. ¶¶ 9, 51,

Gov’t App. 4, 16.

      That leaves the government to assert only that Chinese agents

“may” access the data. GB 24, 26‒27. That appears doubtful in light of

the extensive measures TikTok has taken to prevent this possibility.

See TikTok Br. 15-17. At any rate, even Humanitarian Law Project

demanded more certainty than the government offers here. While the

Court there recognized the government’s leeway to “confront evolving

threats in an area where information can be difficult to obtain,” 561 U.S.

at 34, it still required the government to show it was “seeking to prevent

imminent harms in the context of international affairs and national


                                   28
USCA Case #24-1113   Document #2070340        Filed: 08/15/2024   Page 37 of 43



security,” id. at 35 (emphasis added). At least in its public briefing, the

government has not satisfied this standard.

      Of course, the government redacts large portions of its briefing that

it intends to prevent Petitioners—and the public—from seeing. But that

decision only compounds the First Amendment problem. The government

cannot silence 170 million people without some form of adversarial

testing that allows those affected to answer the government’s reasons for

censoring their speech. See Freedman v. Maryland, 380 U.S. 51, 58‒60

(1965). That concern is particularly acute when the government’s

declarations appear to rest on inaccuracies about TikTok’s data-collection

practices. See TikTok Reply 25 (noting that TikTok no longer collects

location data).

      b. The Act is not narrowly tailored to serve this interest. There are

also less restrictive alternatives to responding to data privacy concerns

than shutting down TikTok.

      First, and most obviously, the government could simply ban TikTok

from collecting the two forms of data—location and contact data—about

which the government complains. See GB 34. Alternatively, the

government could take any number of lesser steps. See OB 57‒58 (listing


                                    29
USCA Case #24-1113    Document #2070340       Filed: 08/15/2024   Page 38 of 43



less restrictive alternatives). It could advise users not to share their data

with TikTok. See United States v. Playboy Ent. Grp., Inc., 529 U.S. 803,

823‒24 (2000) (informing consumers about their options to avert the

harms Congress purports to address provides a less restrictive

alternative to censorship). It could encourage (or potentially compel)

mobile phone and browser operators to remind users about the risk of

sharing sensitive data. Or it could require TikTok itself to provide

“factual and uncontroversial information” to its users about data-security

risks. Zauderer v. Office of Disciplinary Counsel, 471 U.S. 626, 651

(1985). What it cannot do is to ban TikTok entirely.

      Again, the government’s own conduct confirms that any data-

security risks to TikTok can be addressed while still permitting speech

on the platform. If the Vice President of the United States can create and

post on a personal TikTok account, see supra at 1‒2, then presumably

ordinary Americans can toggle their security settings to use TikTok

without personal risk (or risk to the country at large).

      D.   The Act Is Facially Overbroad.

      NetChoice confirms that a law regulating social media is overbroad

and facially invalid under the First Amendment if it “prohibits a


                                     30
USCA Case #24-1113    Document #2070340      Filed: 08/15/2024    Page 39 of 43



substantial amount of protected speech relative to its plainly legitimate

sweep.” 144 S. Ct. at 2397 (citation and internal quotation marks

omitted); accord OB 60. And the government acknowledges the Act

sweeps absolutely. See GB 74‒75. But it contends that sweep is

legitimate because the TikTok “platform itself, as a whole ... creates

unacceptable national-security risk.” GB 75.

      The vast majority of speech on TikTok, however, has nothing to do

with politics, much less elections. Teenagers riffing off Taylor Swift

songs, for example, are not engaging in political speech. See Kevin

Hurler,    What      Is   ‘SwiftTok’?,    Gizmodo     (Oct.      17,   2022),

https://tinyurl.com/2naz2s47. And Petitioners use the platform to speak

on topics including ranching, sports, and religion. OB 5‒6. They also use

ByteDance-provided editing tools, like CapCut, that do not present a risk

of content manipulation. See OB 54. Yet the government never explains

why it is necessary to ban all ByteDance-owned platforms to avoid

alleged covert manipulation of a small slice of content on TikTok that

could have political ramifications. Even in Humanitarian Law Project,

the high-water mark for national-security deference, the Court stressed

that the statute there restricted “only a narrow category of speech”—


                                    31
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 40 of 43



namely, speech providing material support to designated terrorist

organizations. 561 U.S. at 26. The Act here, in contrast, bans all speech

from U.S.-based creators on TikTok.

      Nor does the government ever assert that any location data or other

personal information of ordinary Americans might be used for any

nefarious purpose—only that certain categories of people like “federal

employees” and their “family members” are at risk. GB 58. The

government accordingly cannot show that this asserted interest, even if

valid as-applied in some situations, supports shutting down TikTok

entirely either.

II.   The Court Should Permanently Enjoin the Act.

      If the Court finds that the Act violates the First Amendment, it

should enjoin the Act. The government does not dispute that Petitioners

will be irreparably harmed if the Act’s TikTok ban takes effect. And the

government’s claims about the “balance of the equities and the public

interest,” GB 86‒87, rise and fall with the merits: When a statute violates

the First Amendment, its enforcement “is always contrary to the public

interest.” Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013).




                                    32
USCA Case #24-1113   Document #2070340       Filed: 08/15/2024   Page 41 of 43



      If factual disputes prevent the Court at this stage from determining

whether the Act is constitutional, the Court should preliminarily enjoin

the Act pending further proceedings. To be sure, the parties agreed to

present “factual submissions in connection with [these] legal briefs.” GB

87; see Joint Motion (May 17, 2024). But if the Court finds a genuine

dispute of material fact, the First Amendment requires the Court to

resolve that dispute. See NetChoice, 144 S. Ct. at 2399 (remanding

because “the record is underdeveloped”); id. at 2411 (Jackson, J.,

concurring in part and concurring in the judgment) (similar); id. at 2435‒

36 (Alito, J., concurring in the judgment) (similar); cf. Bose Corp. v.

Consumers Union, 466 U.S. 485, 503‒11 (1984) (definitive record support

necessary for any judgment restricting First Amendment freedoms). And

in that eventuality, the undisputed irreparable harm a TikTok shutdown

would cause Petitioners—coupled with their strong showing on the other

factors—would favor a preliminary injunction.

      Congress, in fact, has already determined that TikTok may

continue operating for many months ahead without unduly impairing

any governmental interests. Act § 2(a)(2)(A); see supra at 24‒25. There is




                                   33
USCA Case #24-1113   Document #2070340         Filed: 08/15/2024   Page 42 of 43



no reason the same would not be true with respect to any additional time

necessary to determine whether the Act is constitutional.

                            CONCLUSION

      The Court should enjoin the Act. Alternatively, it should enter a

preliminary injunction and order further proceedings as appropriate.

Dated: August 15, 2024

Respectfully submitted,

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                                     34
USCA Case #24-1113    Document #2070340     Filed: 08/15/2024   Page 43 of 43



                     CERTIFICATE OF COMPLIANCE

      1.   This document complies with the type-volume limit set by the

Court’s order of May 28, 2024, because this brief contains 6,475 words,

excluding the parts of the brief exempted by Fed. R. App. 32(f).

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                                    35
